674 F.2d 259
    3 Ed. Law Rep. 497
    Phillip PRATT, By his mother and next friend, Barbara Vann, Appellee,v.BOARD OF EDUCATION OF FREDERICK COUNTY and Gordon M.Anderson, Superintendent of Schools, FrederickCounty, Appellants.
    No. 81-1897.
    United States Court of Appeals,Fourth Circuit.
    Argued Feb. 1, 1982.Decided March 22, 1982.
    
      Charles U. Price, Frederick, Md.  (Rollins, Price &amp; Tisdale, Frederick, Md., on brief), for appellants.
      Eleanor Montgomery, Baltimore, Md., Maryland Advocacy Unit for the Developmentally Disabled, Inc. for appellee.
      Before BRYAN, Senior Circuit Judge, WIDENER and HALL, Circuit Judges.
      PER CURIAM:
    
    
      1
      The Board of Education of Frederick County, Maryland, and its Superintendent of Schools appeal from a district court order awarding attorney fees to Barbara Vann and her son pursuant to Title V, Section 505(b) of the Rehabilitation Act, 29 U.S.C. § 794a(b).
    
    
      2
      Vann filed this action to compel the Board to make certain disciplinary provisions for her emotionally handicapped child.  The parties reached a settlement, and the court subsequently awarded attorney fees to the plaintiff on the ground that she was the prevailing party.
    
    
      3
      Having reviewed the arguments of counsel and transcript of the district court proceedings, we find no error in the district court's ruling.  Accordingly, we affirm the award for the reasons stated by the district court.  Pratt v. Board of Education of Frederick Co., Md., et al., C/A No. K80-2195 (D.Md., July 28, 1981).
    
    